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    April 6, 2021                                                                                   Application granted.

    VIA ECF                                                                                         SO ORDERED.
    The Honorable Ronnie Abrams
    United States District Judge
                                                                                                    ____________________
    Southern District of New York
                                                                                                    Ronnie Abrams, U.S.D.J.
    500 Pearl Street, Room 2203
                                                                                                    April 7, 2021
    New York, NY 10007

    Re:       United States v. Rainedy Cepeda-Nova, No. 19-cr-799 (RA)

    Dear Judge Abrams:

    On behalf of our client, Rainedy Cepeda-Nova, we respectfully request that the Court modify the travel
    conditions of Mr. Cepeda-Nova’s pretrial release to permit him to travel to Santo Domingo, in the
    Dominican Republic, from April 16-April 27, 2021. Mr. Cepeda-Nova previously received Court
    approval to travel to Santo Domingo from April 1-11, 2021. (ECF No. 16). Upon discovering that his
    passport was due to expire, he postponed the trip and requested the release of his passport so that he
    could seek renewal. (ECF No. 17.) The Court approved that request. (ECF No. 18.) Mr. Cepeda-
    Nova will receive his new passport in time for his proposed departure on April 16. If the Court
    approves this travel request, he will surrender his renewed and expired passports to Pretrial Services
    upon returning to the United States on April 27.

    We have consulted with the Government and Pretrial Services about this request. Pretrial Services
    takes no position on international travel, but notes that Mr. Cepeda-Nova has recently graduated from
    the Young Adult Opportunity Program and is in compliance with his conditions of release.

    The Government’s position is as follows: “Ordinarily, the Government would oppose this request
    because of the inherent significant risk of non-return posed by a non-citizen defendant and his family
    travelling to his country of citizenship. However, given the Court’s greater direct familiarity with Mr.
    Cepeda-Nova by virtue of the Young Adult Opportunity Program, the Government is prepared to defer
    to the Court’s judgment on this matter and takes no position on the request.”




N EW Y ORK   W ASHINGTON   H OUSTON   P ALO A LTO   S AN F RANCISCO   C HICAGO   P ARIS   L ONDON   F RANKFURT   B RUSSELS   M ILAN   R OME
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Hon. Ronnie Abrams
April 6, 2021
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Respectfully submitted,


/s/ Michael S. Schachter
Michael S. Schachter
Ravi Chanderraj


cc:    AUSA Jacob Fiddelman
       U.S. Pretrial Services Officer Rena Bolin
